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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________
No. 23-1067                                                September Term, 2024
                                                                        FAA-01/10/23 ROD
                                                       Filed On: February 28, 2025
Marin Audubon Society, et al.,

             Petitioners

      v.

Federal Aviation Administration, U.S.
Department of Transportation and National
Park Service, U.S. Department of the Interior,

             Respondents


      BEFORE:       Srinivasan, Chief Judge; Henderson, Circuit Judge; and Randolph,
                    Senior Circuit Judge

                                       ORDER

     Upon consideration of the joint unopposed motion to stay issuance of the
mandate, it is

      ORDERED that the motion be granted, for the reasons stated in the opinion
issued herein this date.

      The parties are directed to file motions to govern further proceedings by
February 28, 2026.

                                      Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
